


  Appeal from a judgment of the Niagara County Court (Matthew J. Murphy, III, J.), rendered November 17, 2016. The judgment convicted defendant, upon his plea of guilty, of attempted robbery in the second degree.
 

  It is hereby ordered that the judgment so appealed from is unanimously affirmed.
 

  Memorandum: Defendant appeals from a judgment convicting him, upon his plea of guilty, of attempted robbery in the second degree (Penal Law §§ 110.00, 160.10 [1]). Contrary to defendant’s contention, his waiver of the right to appeal is valid (see generally People v Lopez, 6 NY3d 248, 256 [2006]). The record establishes that he “understood that the right to appeal is separate and distinct from those rights automatically forfeited upon a plea of guilty” (id.). Defendant’s valid waiver of the right to appeal forecloses his challenge to the severity of the sentence (see id. at 255-256).
 

  Present—Whalen, P.J., Smith, Lindley, NeMoyer and Troutman, JJ.
 
